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                             UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA
                                      at Huntington

DAWN DENISE McCOMAS,
Executrix of the Estate of
BILLIE PLYMALE,

                  Plaintiff,

v.                                                     CIVIL ACTION NO. 3:13-cv-14953

KIRT THOMAS MILLER, D.P.M.,
         Defendant.



                MOTION TO EXCLUDE THE TESTIMONY OF EXPERT WITNESS
                                BARRY SINGER, M.D.


          Comes now, Defendant Kirt Thomas Miller, D.P.M. (“Dr. Miller”), by counsel, Tamela J.

White, Samantha Thomas-Bush, and Farrell, White & Legg PLLC, and moves this Court to

exclude Plaintiff’s expert witness, Barry Singer, M.D. (“Dr. Singer”) from testifying at trial. Dr.

Singer does not offer testimony that will assist a trier of fact or that is admissible because,

although he is a medical doctor, Dr. Singer lacks any qualification in the podiatric medicine.

Exclusion is warranted pursuant to Fed. R. Evid. 702; Daubert v. Merrell Dow Pharmaceuticals,

509 U.S. 579, 113 S.Ct. 2786 (1993); Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 119 S.

Ct. 1167 (1999); W. Va. Code § 55-7B-7(a).


          The Memorandum of Law in Support of the Motion to Exclude the Testimony of Expert

Witness Barry Singer, M.D., contemporaneously filed, is fully incorporated herein. All exhibits

referenced therein are attached hereto and incorporated by reference.




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          WHEREFORE, for the reasons enumerated and others that may be apparent to the Court,

the Defendant moves this Honorable Court to exercise its gatekeeping function and to Exclude

the Testimony of Barry Singer, M.D.




                                                          Kirt Thomas Miller, D.P.M.,


                                                          By counsel,



/s/ Tamela J. White_____________
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                           UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                                    at Huntington
DAWN DENISE McCOMAS,
Executrix of the Estate of
BILLIE PLYMALE,

                  Plaintiff,

v                                                        CIVIL ACTION NO. 3:13-CV-149s3

KIRT THOMAS MILLER, D.P.M.,
                  Defendant.

                                    CERTIFICATE OF SERVICE

           I hereby certify that on July 14, 2014,I electronically filed the foregoing

CERTIFICATE OF SERVICE for the MOTION TO EXCLUDE THE TESTIMONY

PLAINTIFF'S EXPERT WITNESS BARRY SINGER, M.D. with the Clerk of Court using

the CM/ECF system which will send notification of such filing to the following attorneys of

record: Courtesy copies will be provided to the Court via hand delivery.

Matthew C. Lindsay, J.D., M.D.
Richard D. Lindsay, M.D., J.D.
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